
*297On May 17, 1880, the decision of the Court below was affirmed by the Supreme Court in the following opinion:
Per Curiam.
This case originated before a justice of the peace. The parties, by agreement filed, selected a referee under the Act of 9th of April 1868, P. L. 780. They further agreed that the case should be tned without a declaration or other pleadings, and that no exceptions or objections should be taken or made for the want thereof, and -that it should be heard and determined on. the testimony taken in a previous case between the parties.
The clear intention then was, that the trial should be on the merits, regardless of all technicalities., The power of the Referee was most ample to disregard the form of action or consider it changed to suit the evidence. His finding of facts sustained his conclusion of law. We see no sufficient reason for holding that this finding of facts was not sustained by the evidence. Some of the exceptions are to facts outside of the record. As they were not sustained by the Court below, we will not assume the facts therein charged were proved. The evidence on which the Court acted is not before us. The just inference is, that all the substantial requirements, not waived by the parties, were observed by the Referee. In view of the agreement under which the case was submitted and tried, nothing less than a clear and substantial error should be suffered to defeat the purpose of the parties. We discover no such error.
Judgment affirmed.
